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                         IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF ARKANSAS
                                 TEXARKANA DIVISION

DENNIS FOWLER                                                                               PLAINTIFF


v.                                      Civil No. 4:20-cv-04075

COMMISSIONER, SOCIAL                                                                      DEFENDANT
SECURITY ADMINISTRATION

                                                 ORDER

         Plaintiff has submitted a Complaint for filing in this District, together with a request for leave

to proceed in forma pauperis and Motion for Service. After review, it is found that Plaintiff is

unable to pay for the costs for commencement of suit, and accordingly,

         IT IS HEREBY ORDERED Plaintiff’s Motion For Leave to Proceed in forma pauperis

and Motion for Service are GRANTED. Additionally, the Court hereby directs that a copy of the

Complaint filed herein, along with a copy of this Order, be served by the Plaintiff by certified Mail,

return receipt requested, on the Defendant, Commissioner, Social Security Administration, the U.S.

Attorney General, and the Assistant U.S. Attorney, without prepayment of fees and costs or security

therefore. The Defendant is Ordered to answer within sixty (60) days from the date of service.

         IT IS SO ORDERED this 15th day of September 2020.




                                                          /s/ Barry A. Bryant
                                                          HON. BARRY A. BRYANT
                                                          U.S. MAGISTRATE JUDGE
